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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON



UNITED STATES OF AMERICA,                                   No. 3:12-cr-00373-HZ-1


                       Plaintiff,
v.

SAMUEL NAVARRETTE-AGUILAR,                                  ORDER


                       Defendant.

HERNÁNDEZ, District Judge:

       Defendant Samuel Navarrette-Aguilar moves the Court to reduce his sentence under 18

U.S.C. § 3582(c)(1)(A)(i). The Government opposes Defendant’s motion.

       The Court denied Defendant’s first motion for compassionate release on July 28, 2021.

See Order, ECF 233 (“July Order”). His second motion largely mirrors the first. In the renewed

motion, Defendant provides no new information that supports changing the Court’s reasoning

found in its July Order.

        Plaintiff now highlights his status as former smoker. Defendant has no health conditions

that place him at a high risk for severe illness from COVID-19, and he is vaccinated. A history of

smoking alone does not constitute extraordinary and compelling circumstance.
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       Defendant also emphasizes his strong family ties and other friendships as evidence of his

rehabilitation. The Court commends Defendant for developing meaningful relationships with

others and engaging with programing. However, as discussed in the Court’s July Order, the §

3553(a) sentencing factors do not support early release. Defendant’s offense involved the

distribution of deadly drugs after he escaped from state prison. Upon release he will be sent to

Mexico without supervision. Under these circumstances, the sentencing factors do not support

such a significant reduction in his sentence.

                                         CONCLUSION

       The Court DENIES Defendant’s Motion to Reduce Sentence Pursuant to U.S.C.

§ 3582(c)(1)(A)(i) [234] without prejudice and with leave to seek reconsideration if

circumstances change.

IT IS SO ORDERED.

       DATED:_______________________.
                 January 25, 2022


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                                                     MARCO A. HERNÁNDEZ
                                                     United States District Judge
